            Case 3:20-cv-00345-APG-WGC Document 18 Filed 01/12/21 Page 1 of 4


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 6   jconner@ag.nv.gov
     Attorneys for Respondent
 7

 8                                     UNITED STATES DISTRICT COURT

 9                                          DISTRICT OF NEVADA

10    WILLIAM WITTER,                                            Case No. 3:20-cv-00345-APG-WGC

11             Petitioner,                                   MOTION FOR ENLARGEMENT OF TIME
                                                                     (FIRST REQUEST)
12    vs.

13    WILLIAM GITTERE, et al.,

14             Respondents.

15           Respondents, by and through counsel, Aaron D. Ford, Attorney General of the State of Nevada,

16   hereby respectfully move this Court for an order granting an enlargement of time to file a response to

17   Witter’s petition for writ of habeas corpus, giving Respondents a reasonable amount of time to respond

18   to the petition pending resolution of the motion for reconsideration that Respondents file

19   contemporaneously with this motion.

20           This motion is based upon the provisions of Rule 6(b) of the Federal Rules of Civil Procedure
21   and the attached Declaration of Counsel, as well as all other papers, documents, records, pleadings and
22   other materials on file herein.
23           This is Respondents’ first request for an enlargement regarding this response.
24           RESPECTFULLY SUBMITTED this 11th day of January, 2021.
25                                                AARON D. FORD
                                                  Attorney General
26
                                                  By: /s/ Jeffrey M. Conner           _
27                                                   JEFFREY M. CONNER (Bar. No. 11543)
                                                     Deputy Solicitor General
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            Case 3:20-cv-00345-APG-WGC Document 18 Filed 01/12/21 Page 2 of 4


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 7

 8                                       UNITED STATES DISTRICT COURT
 9                                               DISTRICT OF NEVADA
10    WILLIAM WITTER,                                                  Case No. 3:20-cv-00345-APG-WGC
11                  Petitioner,                                         DECLARATION OF COUNSEL
12    vs.
13    WILLIAM GITTERE, et al.,
14                  Respondents.
15             I, JEFFREY M. CONNER, declare under penalty of perjury:
16             1.        I am an attorney employed by the Office of the Attorney General of the State of Nevada, and
17   I make this declaration on behalf of Respondents’ motion for enlargement of time in the above-captioned
18   matter.
19             2.        By this motion, I am requesting an enlargement of time to file a response to Witter’s petition
20   for writ of habeas corpus, giving Respondents a reasonable amount of time to respond to the petition pending
21   resolution of the motion for reconsideration that Respondents file contemporaneously with this motion. This
22   is Respondents’ first request for an enlargement regarding this response.
23             3.        Contemporaneously with the filing of this motion, Respondents are filing a motion for
24   reconsideration, requesting that this Court refer Witter’s petition to the Ninth Circuit to resolve the
25   question whether Witter’s petition is an unauthorized second or successive petition. Accordingly,
26   Respondents respectfully request that this Court issue an order Respondents an extension of time to
27   comply with this Court’s order directing a response to the petition in full, giving Respondents a
28   ///

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           Case 3:20-cv-00345-APG-WGC Document 18 Filed 01/12/21 Page 3 of 4


 1   reasonable time to respond to the petition pending resolution of Respondents’ motion for reconsideration.
 2   ECF No. 15.
 3          4.      I contacted opposing counsel, Assistant Federal Defender Stacy M. Newman, regarding
 4   this request, and she indicated she has no objection to Respondents’ request for additional time to file a
 5   response to the petition.
 6          5.      This motion for enlargement of time is made in good faith and not for the purpose of
 7   unduly delaying the ultimate disposition of this case.
 8          I declare under penalty of perjury that the foregoing is true and correct.
 9                                                 By: /s/ Jeffrey M. Conner           _
                                                      JEFFREY M. CONNER (Bar. No. 11543)
10                                                    Deputy Solicitor General
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12    IT IS SO ORDERED:

13            January 12, 2021
      Dated:__________________
14
                                                              ________________________
15                                                            ANDREW P. GORDON
                                                              UNITED STATES DISTRICT JUDGE
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          Case 3:20-cv-00345-APG-WGC Document 18 Filed 01/12/21 Page 4 of 4


 1                                        CERTIFICATE OF SERVICE
 2          I certify that I am an employee of the Office of the Attorney General and that on this 11th day of

 3   January, 2021, I served a copy of the foregoing MOTION FOR ENLARGEMENT OF TIME (FIRST

 4   REQUEST), by U.S. District Court CM/ECF electronic filing to:

 5   Stacy Newman
     David Anthony
 6   Assistant Federal Public Defenders
     411 E Bonneville Ave. Ste. 250
 7   Las Vegas, Nevada 89101
     Stacy_newman@fd.org
 8   David_anthony@fd.org
 9                                                       /s/ Amanda White
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